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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 GREGORY SHIPP, CHRISTOPHER DIXON,
 ERIC JOHNSON, and ZACHARY JOHNSON,
 on their own behalf and on behalf of all others
 similarly situated,
                                                             JURY TRIAL DEMANDED
                                 Plaintiffs,
                                                             Case No. 1:22-cv-00888
                          v.
                                                             J. Robert M. Dow Jr.
 DAVID GOMEZ, as Warden of the Northern
 Reception and Classification Center, and ROB                Magistrate J. Gabriel A. Fuentes
 JEFFREYS, as Director of the Northern
 Reception and Classification Center,

                                 Defendants.


                                FIRST AMENDED COMPLAINT

        1.      Plaintiffs Gregory Shipp, Christopher Dixon, Eric Johnson, and Zachary Johnson

(“Plaintiffs”), current residents at the Illinois Department of Corrections’ (“IDOC”) Northern

Reception and Classification Center (“NRC”) facility at the time of the filing of their respective

claims, bring this lawsuit to rectify the grave living conditions that they and others are forced to

endure as prisoners in IDOC’s custody.

        2.      The NRC houses approximately 1,000 prisoners, each of whom is experiencing

ongoing violations of his Constitutional rights because of the living conditions at the NRC. The

NRC is riddled with vermin and coated in hazardous mold. Plumbing blockages create sewage

overflows from toilets and showers on a consistent basis, and prisoners receive inadequate portion

sizes of nutritionally deficient and rotten food. Prisoners also lack adequate cleaning supplies to

combat the filth in their cells, including the inability to clean cell toilets that are covered in feces.

These grave living conditions are compounded by the fact that prisoners are unable to exercise in

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their cells and have only recently begun to receive inconsistent and limited yard time. Before the

filing of the initial complaint in this matter, they received no out of cell exercise time for months.

They were forced to spend almost 24 hours per day in their cells, leaving their cells only to take

one or two showers per week.

       3.      The NRC’s very name identifies the facility as a temporary “reception” center for

prisoners before they are sent to other IDOC facilities. As a facility geared for temporary, short-

term stays, the NRC is not designed to house prisoners for extended periods of time. The NRC

lacks the education, vocational, and other programming that long-term IDOC facilities provide.

However, many prisoners remain at the NRC for months. All the while, prisoners go without

essential programming and are forced to endure these inhumane and unconstitutional conditions.

       4.       Plaintiffs Gregory Shipp, Christopher Dixon, Eric Johnson, and Zachary Johnson

complain against Defendants Warden David Gomez and Director Rob Jeffreys and state as

follows:

                                     NATURE OF ACTION

       5.      This is a civil action brought pursuant to the Eighth and Fourteenth Amendments

of the United States Constitution to seek declaratory and injunctive relief under 42 U.S.C. § 1983,

and to redress deprivations of Plaintiffs’ civil rights which were caused by the unconstitutional

cruel and unusual punitive acts and omissions of the Defendants acting under the color of law.

                                 JURISDICTION AND VENUE

       6.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and

1343(a)(3). The declaratory and injunctive relief sought is authorized by 28 U.S.C. §§§ 2201,

2202, and 2284.




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       7.      Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in the United States District

Court for the Northern District of Illinois because the facts giving rise to the claims in this

Complaint occurred in this district.

                                            PARTIES

       8.      Plaintiff Gregory Shipp is a prisoner in the custody of the Illinois Department of

Corrections housed at Hill Correction Center, 600 South Linwood Road, Galesburg, IL 61402 who

was house at Stateville’s Northern Reception and Classification Center, 16830 IL-53, Crest Hill,

IL 60403 at the time of the filing of the original Complaint.

       9.      Plaintiffs Christopher Dixon, Eric Johnson, and Zachary Johnson are prisoners in

the custody of the Illinois Department of Corrections housed at Stateville’s Northern Reception

and Classification Center, 16830 IL-53, Crest Hill, IL 60403 at the time of filing the Amended

Complaint.

       10.     Defendant David Gomez is the current Warden of the NRC and is legally

responsible for the health, safety, and sanitation of prisoner living conditions. Defendant David

Gomez was the Warden of the NRC while Plaintiffs were in custody there.

       11.     Defendant Rob Jeffreys is the current Director of the NRC and is legally responsible

for the health, safety, and sanitation of prisoner living conditions. Defendant Rob Jeffreys was the

Director of the NRC while Plaintiffs were in custody there.

                              CLASS ACTION ALLEGATIONS

       12.     Plaintiffs bring a claim for prospective injunctive relief under the Due Process

Clause of the Fourteenth Amendment on behalf of approximately 1,000 prisoners, all of whom are

or were housed in the NRC at the time of the filing of Plaintiffs’ First Amended Complaint. A

class action is proper pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure.



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       13.     The class in this matter should be defined as all individuals incarcerated at the NRC

at any time since January 1, 2020 and all individuals who will be housed at the NRC in the future.

This class excludes all individuals incarcerated at the Stateville Correctional Center who are not

at the NRC, as well as all other facilities operated by the Illinois Department of Corrections.

       14.     The class is so numerous that joinder is impracticable. On information and belief,

there are approximately 1,000 members of the class.

       15.     There are questions of law and fact common to the members of the class, which

predominate over any questions that affect only individual class members. Here, Plaintiffs

challenge the inadequate prison conditions at the NRC.

       16.     Plaintiffs’ claims are typical of the claims of the class.

       17.     Plaintiffs can fairly and adequately represent and protect the interests of the absent

class members.

       18.     Separate injunctive and declaratory actions maintained by individual members of

the class would create a risk of inconsistent or varying adjudications with respect to individual

members of the class, thereby establishing incompatible standards of conduct for the Defendants.

Adjudication regarding the individual class members would, as a practical matter, be dispositive

of, or impair the interests of, other members not parties to the adjudication or substantially impair

their ability to protect their interests. See, e.g., Lippert v. Baldwin, No. 10 C 4603, 2017 WL

1545672 (N.D. Ill. Apr. 28, 2017).

       19.     Defendants have acted or refused to act on grounds generally applicable to the class

the Plaintiffs represent, thereby making final injunctive or declaratory relief appropriate for the

class as a whole.




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       20.     The questions of law or fact common to the members of the class predominate over

any questions affecting only individual members, and a class action is superior to other available

methods for the fair and efficient adjudication of the controversy.

                    COUNT 1 – EIGHTH AMENDMENT VIOLATIONS

                                        Vermin Infestation

       21.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 12 of the

First Amended Complaint.

       22.     At the NRC, vermin—including mice, rats, birds, and insects—infest the living

spaces and common areas. Prisoners see vermin on a daily basis. Mice run in and out of cells all

night long.   Cockroaches crawl up the walls, crawl into bedding, and bury themselves in

commissary items. Gnats and flies swarm the pools of flooded water in common shower areas.

Several varieties of insects cling to excess moisture in cell sinks and toilets—a condition which

further exacerbates the insect infestation.

       23.     Vermin permeate the NRC. In the winter months, even more vermin pour into NRC

to escape frigid outdoor air. NRC’s poorly insulated exterior provides almost no barrier to the

uptick in winter vermin. However, even outside of the winter months, vermin can be found

throughout the NRC.

       24.     At night, the constant sound of mice running around inside prisoners’ cells

frustrates sleep. Prisoners have difficulty sleeping, and, as a result, suffer from compromised

immune systems that leave them vulnerable to the disease and germs the mice spread throughout

prisoners’ cells and personal items. Vermin and their waste, which litters cells and common areas

at the NRC, expose prisoners to dangerous respiratory infections, viruses, skin irritants, and other




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bacteria on a daily basis. Prisoners, who are already at risk of serious disease and struggle with

compromised immune systems in the prison setting, face severe health dangers as a result.

       25.     As the Seventh Circuit recognizes: “The potential psychological harm from living

in a small cell infested with mice and cockroaches is pretty obvious.” Thomas v. Illinois, 697 F.3d

612, 615 (7th Cir. 2012). Within the confines of their cells, prisoners have no escape from the

bugs and mice that crawl, scurry, and burrow in every corner. This sense of helplessness, on a

day-to-day basis, degrades the psychological health of all prisoners who experience it.

       26.     Prisoners, on numerous occasions, complain about the constant, unsanitary

presence of vermin at the NRC. NRC staff and leadership, however, have done nothing to address

the causes of the widespread vermin infestations at the NRC that predate this Complaint by years.

       27.     Prisoners describe seeing no extermination services or vermin traps of any kind at

the NRC. And to the extent the NRC pursues any extermination methods, those solutions are

clearly insufficient and temporary given the constant presence of vermin at the NRC throughout

the year. For example, on the rare occasions when exterminators are in the facility, they only

exterminate in the common areas, which simply drives the vermin into prisoners’ living areas.

Within days, vermin have resumed their posts throughout the facility. The NRC officials have not

addressed this pervasive infestation.

       28.     Without remedy, prisoners are forced to come up with creative, though ineffective,

solutions to the vermin that plague their everyday life. Prisoners sacrifice limited clothing and

bedding, as well as use stacks of books, to clog cracks in the doors to their cells at night, in an

attempt to stop mice from entering. This solution is only slightly effective. Prisoners regularly

squash the bugs that crawl around their cells but must leave the smashed remains behind because

they lack cleaning supplies with which to remove the dead vermin.



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       29.     The NRC officials must address the unconstitutional conditions created by the

vermin infestation.     Infrequent extermination services are not enough, and Defendants’

unwillingness to seriously address these conditions demonstrates a deliberate indifference to the

prolonged deprivation of Plaintiffs’ constitutional rights. As the Seventh Circuit recognizes in the

context of vermin infestations, “[k]nowingly persisting in an approach that does not make a dent

in the problem is evidence from which a jury could infer deliberate indifference.” See Gray v.

Hardy, 826 F.3d 1000, 1009 (7th Cir. 2016).

                                 Unsanitary and Deficient Plumbing

       30.     The NRC’s unsanitary and deficient plumbing poses a significant health risk to all

NRC prisoners.

       31.     The NRC’s plumbing—both in the cells and in the communal showers—

malfunctions on a daily basis.

       32.     In cells, NRC prisoners must contend with cell toilets that do not flush and will

back up causing raw sewage to overflow inside the cell, sometimes covering the floor with standing

wastewater.

       33.     NRC prisoners also endure brown water that smells like sewage from cell sinks and

frequently lack running water at all in both cell toilets and cell sinks. Numerous prisoners report

tying rags and personal towels around leaky faucets at night to prevent them from dripping. By

the morning, the NRC’s water has turned these rags and towels into a rusty, red color.

       34.     The cell plumbing at the NRC is interconnected. Thus, if there is a plumbing issue

with one cell sink or toilet, it likely will cause problems for the other sinks and toilets on the same

plumbing line. For example, prisoners report that overflowing toilets in a neighboring cell cause




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their own cell toilet to overflow. At other times, cell toilets will flush all of the waste contents into

a neighboring cell, causing the neighboring toilet to overflow.

        35.     When plumbing incidents like overflowing toilets occur, NRC staff refuse to

provide cleaning supplies or towels to allow prisoners to clean up the sewage. Instead, prisoners

are forced to use their own clothing or shower towels to clean up the sewage. When this happens,

they are not provided with replacement clothing or shower towels.

        36.     The cell toilets are also covered in mold. Prisoners have reported having cell toilets

covered in black mold, and others with green mold. One prisoner, in a cell with a black mold

covered toilet, reported suffering from health issues on his groin and buttocks after his backside

was sprayed with black moldy water from the cell toilet.

        37.     The cell toilets also back up into the cell sinks. This results in sewage in the sink—

the same sink where prisoners are supposed to get their drinking water, brush their teeth, and wash

their hands. This strongly suggests that there may be cross contamination of drinking water and

wastewater.

        38.     There have been instances in which plumbing backed up in the kitchen and

showers. In these instances, human feces were seen floating on the kitchen floor and in the flooded

communal showers.



        39.     Plumbing issues such as the backups described above effectively deprive prisoners

of access to running water. There have been instances in which cells are without running water

for as long as 38 hours. When this occurs, prisoners have no way to wash their hands, cannot use

their cell toilet, and lack adequate drinking water.




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         40.    When the cells lack running water, prisoners are forced to cover the cell toilet with

a towel to cover the sight and smell of the feces that are sitting in the toilet unflushed. When the

water is shut off, prisoners are not allowed out of their cells to use a different toilet.

         41.    Additionally, there are widespread issues with the communal showers.

Specifically, the communal showers are flooded with raw sewage on a daily basis, forcing

prisoners to shower in contaminated water that can cause fungus and disease. For example,

prisoners have contracted foot fungal infections from the showers.

         42.    In addition to the raw sewage, many of the showers are covered in mold and

mildew.

         43.    There is also a lack of hot water in the communal showers on a weekly basis,

including during the winter months. Prisoners are forced to take cold showers—in the middle of

winter—or forego showers altogether. In some parts of the NRC, prisoners may go without hot

water for as long as one month.

         44.    Additionally, the running water at the NRC, which is normally prisoners’ only

source of water, smells like sewage and has a faint, brown color. Staff and visitors are told to

bring their own water. Staff members bring in gallon jugs of water for themselves. The NRC

responds to prisoner complaints about the water by saying that the water is piped in from the City

of Crest Hill and that the city’s water is tested. On information and belief, that testing is done

outside the prison. In other words, the water is tested before it passes through the NRC’s ancient

pipes.

         45.    In fact, the Illinois Environmental Protection Agency (“IEPA”) reports dangerous

levels of copper and lead in Stateville / NRC’s water supply that are magnitudes higher than

regulatory levels. The Maximum Contaminant Level (“MCL”) for copper and lead are 1.3



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milligrams per liter (“mg/L”) and 0.015 mg/L, respectively. For the testing period of July 1, 2021

to December 31, 2021, IEPA tests revealed 3.17 mg/L of copper and 0.128 mg/L of lead in

Stateville / NRC’s water supply, nearly three times higher than the MCL for copper and over eight

times higher than the MCL for lead.

       46.     On March 11, 2022, IDOC issued a press release confirming the presence of

Legionella bacteria at Stateville and Joliet Treatment Center. IDOC’s press release did not specify

whether the presence of Legionella bacteria had been detected at both Stateville Correctional

Center, NRC’s parent institution, and at NRC. Legionella bacteria can cause Legionnaires’

disease, which can cause headaches, muscle aches, fevers, gastrointestinal issues such as vomiting

and diarrhea, chest pain and shortness of breath, and long-term neurological damage such as

memory loss and difficulty with concentration.

       47.     On information and belief, IDOC also issued an internal memorandum to prisoners

at NRC notifying them of the Legionella outbreak, but the memorandum told prisoners that the

outbreak was limited to S Wing and two other unoccupied wings at NRC. The memorandum did

not specify whether all of the water at the NRC had been tested for Legionella or for how long the

Legionella outbreak went undetected.

       48.     Since reporting the Legionella outbreak, the NRC has not supplied prisoners with

bottled water on a consistent basis. Indeed, several prisoners report that the NRC has not handed

out any alternative drinking water sources since they received notice of the bacteria outbreak. As

a result, prisoners are forced to either drink water that may be contaminated with Legionella or go

without drinking water entirely. One prisoner reported that the only liquids they drink, out of fear

of contracting Legionnaires’ disease, are the small containers of milk and juice that are provided

with meals.



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          49.   The memorandum instructed prisoners to seek medical attention if they experienced

headaches, muscle aches, or stomachaches, as those symptoms are associated with Legionnaires’

disease. However, prisoners continue to report difficulty obtaining medical attention when they

experience those symptoms.

          Rotten and Nutritionally Deficient Food Prepared in an Unsanitary Kitchen

          50.   Prisoners at NRC are forced to eat rotten and spoiled food or go hungry.

          51.   NRC routinely provides prisoners with undercooked and spoiled food, including

spoiled chicken, hot dogs, and meat patties, as well as rotten and expired milk. Prisoners describe

receiving the “Stateville special,” a concoction of rotten chunks of meat with visible green patches,

as well as seeing rodent feces in their food.

          52.   The food that NRC provides is foul smelling and ingesting it makes prisoners sick.

          53.   Prisoners frequently complain about spoiled and rotten food but are ignored by, or

met with disdain from, correctional staff.

          54.   Not only is the food obviously spoiled, but also food is frequently undercooked,

exposing prisoners to the risk of serious illness and preventing them from maintaining a

nutritionally adequate diet. Prisoners have experienced food poisoning from the meals at NRC.

          55.   Prisoners who do eat the food are routinely forced to eat around moldy, rotten

patches of food. Consequently, prisoners do not receive sufficient calories.

          56.   Even when NRC provides edible food, the food is nutritionally deficient and the

portion sizes are too small. Prisoners estimate that they receive 1500 calories a day, describe rapid

weight loss, and explain that they are almost always hungry due to the small portion sizes. In

addition, prisoners are sometimes fed the same meal—cut up sausages—for breakfast, lunch, and

dinner.



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         57.    Further, limited access to commissary prevents them from obtaining other sources

of nutrition. Indigent prisoners who cannot afford commissary must rely on the deficient food

provided by the NRC for all of their nutrition.

         58.    As a result of this inadequate nutrition, prisoners report rapid weight loss. Several

prisoners reported losing a significant amount of their total body weight.

         59.    Not only is the food nutritionally deficient, spoiled, rotten, and inadequate, but the

kitchen at NRC is unsanitary, which creates a continuous and high risk of foodborne illness for

prisoners.

         60.    The kitchen for the NRC is full of cockroaches and mice, including in the dry

storage areas and on food service and food preparation tables. Cockroaches often crawl on the

pots and pans used to prepare prisoner meals, and the cookware is not then cleaned again before

use.

         61.    There is extensive mold throughout the kitchen, including in the food storage areas

and on the floors.

         62.    Food is often left out of the refrigerator after it is prepared and before it is delivered

to prisoners to consume. While the food is sitting out, it is left uncovered and roaches and mice

often crawl on the food. This results in food containing vermin or their feces being delivered to

prisoners.

         63.    These food contamination conditions have been reported to kitchen supervisors.

The supervisors instruct that the food should be served anyway.

                               Lack of Access to Cleaning Supplies

         64.    Prisoners at NRC live in filth and lack adequate cleaning supplies to address the

unclean conditions.



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        65.        Prisoners are provided only a state-issued bar of soap once a week or once every

other week to keep themselves and their cells clean.

        66.        If a prisoner wants to clean his cell, he must request bleach and a broom.

        67.        But prisoners report that obtaining cleaning supplies like bleach is difficult, and

that whether they are given access to bleach is at the discretion of sympathetic correctional staff,

who rarely grant prisoner requests. Prisoners report receiving cleaning supplies only two times in

four months.

        68.        Cell toilets are particularly unclean. As noted above, the inadequate plumbing at

the NRC frequently causes toilets to overflow, contaminating both the toilet and cell. Without any

cleaning supplies—not even toilet brushes—to clean their toilets, prisoners’ toilets are constantly

foul and filthy.

        69.        When correctional staff refuse to provide bleach, prisoners are forced to clean the

waste and water with their personal items, further contaminating their possessions and cells. For

example, prisoners report using shampoo to attempt to clean the black mold that lines the walls of

their cells.

        70.        The prevalence of disease and dirt-carrying vermin exacerbate the squalid

conditions in cells, making it harder for prisoners to keep their cells sanitary and clean because

prisoners can only clean up after the vermin with the few, insufficient cleaning supplies they are

provided.

                                  Lack of Out of Cell Exercise Time

        71.        Not only are prisoners forced to suffer in abhorrent living conditions, but their

extreme lack of out of cell time prevents them from obtaining even small reprieves.




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        72.     At the NRC, prisoners are supposed to be given yard time twice a week. But

prisoners frequently report receiving yard time only approximately once a month. On information

and belief, from approximately early fall 2021 to spring 2022 prisoners did not receive any yard

time. One prisoner who arrived at NRC in November 2021 reported that he did not see daylight

again for three months after his arrival.

        73.     NRC has only recently started to provide yard time after months of no out of cell

time. However, yard time remains inconsistent and limited, and is frequently cancelled. Prisoners

continue to spend the overwhelming majority of their time locked in their cells for days on end.

        74.     Not only are prisoners not given any out of cell opportunity to exercise, but the cells

are also so small that prisoners are unable to exercise in their cells. Prisoners report that there is

only enough space to sit down and stand up in their cells.

        75.     There is no obvious reason for this lack of out of cell time: although prisoners report

being told the lack of out of cell time is due to quarantine restrictions, quarantine restrictions are

not implemented in other settings.

        76.     As a consequence of their lack of yard time, prisoners essentially spend all hours

of the day, every day, in their cells.

               VIOLATION OF PLAINTIFFS’ CONSTITUTIONAL RIGHTS

        77.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 63 of the

First Amended Complaint.

        78.     Plaintiffs have rights protected under the Eighth and Fourteenth Amendments to

the United States Constitution. These rights include the right to be free from cruel and unusual

punishment, the right to due process, and the right to equal protection of the laws.




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          79.   Plaintiffs have exercised their constitutional rights to be free from cruel and unusual

punishment, their right to due process, and their right to equal protection of the laws by filing this

lawsuit.

          80.   Defendants have violated Plaintiffs’ Constitutional rights by permitting the NRC to

be overrun by vermin, neglecting to maintain adequate plumbing systems—which result in

unsanitary and unsafe conditions, providing Plaintiffs with spoiled and nutritionally-deficient

food, failing to provide Plaintiffs with adequate cleaning supplies to maintain their cells, and

failing to provide necessary out of cell exercise time.

          81.   These prison officials have violated their duty to protect Plaintiffs from these

inadequate and hazardous prison conditions.

          82.   These Defendants possess actual knowledge of the inadequate and hazardous

conditions, and they have impeded remedying preventable harm.

          83.   These Defendants possess the power to correct the inadequate and hazardous prison

conditions Plaintiffs have alleged in this First Amended Complaint.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs Gregory Shipp, Christopher Dixon, Eric Johnson, and Zachary

Johnson asks this Honorable Court for Judgment against Defendants, and request the following

relief:

          A)    A Declaration that the acts and omissions of Defendants violated Plaintiffs’

                constitutionally protected rights;

          B)    A Permanent Injunction prohibiting Defendants from taking further deliberate

                indifferent acts against Plaintiffs;

          C)    Plaintiffs’ costs and fees in prosecuting this action.



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Dated: March 24, 2022                Respectfully submitted,

                                     PLAINTIFFS GREGORY SHIPP, CHRISTOPHER
                                     DIXON, ERIC JOHNSON, AND ZACHARY
                                     JOHNSON

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Moves                        6                         Moves / Moves
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